                                   UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL.                                      CIVIL ACTION NO. 3:21-cv-00242
  Plaintiffs
                                                        JUDGE WENDY B. VITTER
VERSUS
                                                        MAG. JUDGE SCOTT D. JOHNSON
LOUISIANA STATE UNIVERSITY, ET AL.
  Defendants

      SUPPLEMENTAL MEMORANDUM IN SUPPORT OF DEFENDANT JENNIE STEWART’S RULE
           12(b)(6) MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT

           MAY IT PLEASE THE COURT:

           Defendant Jennie Stewart submits this brief memorandum to supplement her prior

briefing and alert the Court to new case law authorities issued since Stewart filed her motion to

dismiss on February 14, 2022, which may assist the Court in its consideration of Stewart’s still-

pending motion seeking dismissal of all claims pled against her due to qualified immunity. 1

           First, Judge Shelly D. Dick last week dismissed similar Section 1983 claims alleged against

defendant Stewart and others in Doe, et al. v. Board of Supervisors of Louisiana State University

and Agricultural and Mechanical College, et al., Civil Action No. 3:21-cv-00564, 2022 WL

16701930 (E.D. La. Nov. 3, 2022). Doe involves claims by six plaintiffs who are current or

former students or faculty members of LSU who filed Title IX claims against the university

related to incidents of sexual harassment or assault while also attempting to state Section 1983

claims against Stewart as LSU’s Title IX Coordinator and other individuals. After a thorough

discussion of controlling case law in Fitzgerald v. Barnstable School Committee, 555 U.S. 246,

250 (2009), and persuasive case law in Wilkerson v. University of North Texas, 223 F.Supp.3d


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    R.Doc. 199.

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592 (E.D. Tex. 2016) and Doe v. Napa Valley Unified School District, 2018 WL 4589978 (N.D. Cal.

Apr. 24, 2018), Judge Dick dismissed the Section 1983 claims against Stewart and other

individual defendants because she concluded that the Doe plaintiffs were attempting an “end

run around” clearly established law prohibiting Title IX claims against individual employees

rather than the employer institutions receiving federal funds:

        A plain reading of the Complaint herein compels the conclusion that the
        Plaintiffs have sued certain LSU officials in their individual capacities under
        Section 1983, based on underlying Title IX violations, in a seeming “end run
        around Title IX’s explicit language limiting liability to funding recipients.” For the
        same reasoning and analysis discussed above, the Section 1983 claims brought
        against [Stewart and other LSU officials] are dismissed with prejudice.

2022 WL 16701930, at *22-24. The same reasoning should support the dismissal of Stewart

and the other individually named defendants in the instant action. 2

        Second, Stewart asks the Court to consider the case of Thomas v. Board of Regents of

the University of Nebraska, 2022 WL 1491102 (D. Neb. May 11, 2022), in which a number of

plaintiffs represented by two of the plaintiffs’ attorneys in this lawsuit (Elizabeth Abdnour and

Karen Truszkowsi) filed a strikingly similar Title IX lawsuit on behalf of former students against

the University of Nebraska at Lincoln. As in the instant case, the Thomas plaintiffs attempted to

assert Section 1983 claims against individual university officials in addition to their Title IX

claims against the university. The District of Nebraska dismissed those plaintiffs’ Section 1983

based on qualified immunity, just as Stewart and other individual defendants have requested

this Court to do. Thomas, at *17-18.




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 Alternatively, Judge Dick also determined that all Section 1983 claims were prescribed. And she dismissed all
Title IX claims against the LSU Board of Supervisors as prescribed.

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       Finally, while discovery is now well underway, it is unclear if this Court is awaiting

further factual development through discovery before ruling on the motions to dismiss filed by

Stewart and other defendants in February. In its recent ruling in Carswell v. Camp, 37 F.4th

1062 (5th Cir. 2022), the Fifth Circuit made it clear that a district court must rule of motions to

dismiss asserting qualified immunity at the earliest possible stage “without any discovery.” Id.

at 1066. [Emphasis contained in the opinion.]

       In making its ruling, the Carswell court specifically overruled Lion Boulos v. Wilson, 834

F.2d 504, 508-09 (5th Cir. 1987) and its progeny, which had allowed district courts in this circuit

to defer qualified immunity rulings until after discovery if the district court believed that further

factual development was necessary. After discussing Supreme Court cases issued after Lion

Boulous, including Ashcroft v. Iqbal, 556 U.S. 662 (2009), the Carswell court set forth the

following new rule:

       When defendants assert qualified immunity in a motion to dismiss, the district
       court may not defer ruling on that assertion. It may not permit discovery—
       “cabined or otherwise”—against immunity-asserting defendants before it has
       determined plaintiffs have pleaded facts sufficient to overcome the defense.
       The rule is that “a defendant’s entitlement to qualified immunity should be
       determined at the earliest possible stage of litigation”—full stop. Although our
       court previously carved out a “narrow exception” to this rule, we now make
       clear the rule admits of no exceptions.

Carswell, 37 F.4th at 1067 (internal citations omitted). While Stewart has not sought a stay of

all discovery and has therefore already incurred significant costs through her participation, she

urges the Court to rule on her pending motion to dismiss as soon as practicable without waiting

for the expiration of all remaining discovery deadlines.




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                  Respectfully submitted,

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